                   Case 2:17-cv-01731-TSZ Document 53 Filed 08/24/18 Page 1 of 2



 1                                                                     The Honorable Thomas S. Zilly
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 7
 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE
10
       STRIKE 3 HOLDINGS, LLC, a Delaware                Case No. 2:17-cv-01731-TSZ
11     corporation,
                                                         PLAINTIFF’S NOTICE OF
12                                       Plaintiff,      VOLUNTARY DISMISSAL WITHOUT
                                                         PREJUDICE
13             v.
14     JOHN DOE, subscriber assigned IP
       address 73.225.38.130,
15
16                                    Defendant.

17
             Plaintiff Strike 3 Holdings, LLC (“Plaintiff”), pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),
18
     hereby voluntarily dismisses the above-captioned action and all claims asserted therein without
19
     prejudice. Defendant John Doe has neither answered Plaintiff’s Amended Complaint nor filed a
20
     motion for summary judgment.
21
             DATED this 24th day of August, 2018.
22
23                                                    FOX ROTHSCHILD LLP

24
                                                        s/ Bryan J. Case
25                                                    Bryan J. Case, WSBA #41781
                                                      Lincoln Bandlow, admitted Pro Hac Vice (CSBA
26                                                    #170449)
                                                      Attorneys for Plaintiff

       NOTICE OF VOLUNTARY DISMISSAL WITHOUT                                          FOX ROTHSCHILD LLP
       PREJUDICE (2:17-CV-01731-TSZ) - 1                                            1001 FOURTH AVENUE, SUITE 4500
                                                                                                SEATTLE, WA 98154
                                                                                                     206.624.3600


     61681229.v1
                   Case 2:17-cv-01731-TSZ Document 53 Filed 08/24/18 Page 2 of 2




 1                                    CERTIFICATE OF SERVICE
 2
             I hereby certify that on August 24, 2018, I electronically filed the foregoing with the
 3
     Clerk of the Court using the CM/ECF system which will send notification of such filing to the
 4
     following persons:
 5
 6            J. Curtis Edmondson, WSBA #43795                          Via CM/ECF
              399 NE John Olsen Avenue                                  Via U.S. Mail
 7            Hillsboro, Oregon 97124                                   Via Messenger Delivery
 8            Telephone: (503) 336-3749                                 Via Overnight Courier
              Email: jcedmondson@edmolaw.com                            Via Facsimile
 9
10
             DATED this 24th day of August, 2018.
11
12
                                                   Melinda R. Sullivan
13                                                 Legal Administrative Assistant

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       NOTICE OF VOLUNTARY DISMISSAL WITHOUT                                          FOX ROTHSCHILD LLP
       PREJUDICE (2:17-CV-01731-TSZ) - 2                                            1001 FOURTH AVENUE, SUITE 4500
                                                                                                SEATTLE, WA 98154
                                                                                                     206.624.3600


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